                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         DIANA KAYE GENTRY,                                   Case No. 09-36472-dof
                                                              Chapter 7 Proceeding
            Debtor.                                           Hon. Daniel S. Opperman
_____________________________________/
MICHAEL A. MASON, TRUSTEE,
and BARBARA DUGGAN,

         Plaintiffs,

v.                                                            Adversary Proceeding
                                                              Case No. 12-3340-dof
DIANA KAYE GENTRY,

      Defendant.
_____________________________________/

                 Opinion Denying Defendant’s Motion to Dismiss and Motions of
                 Plaintiffs and Defendant for Summary Judgment and for Sanctions

                                            Introduction

         The Plaintiff, Michael Mason, is the Chapter 7 Trustee for the estate of Christopher Wyman,

Case No. 12-32264 (Bankr. E.D. Mich.). Mr. Wyman is the ex-husband of the Debtor/Defendant,

Diana Gentry. Barbara Duggan is a creditor of Mr. Wyman. Michael Tindall has represented

Barbara Duggan in various actions and is the attorney for Mr. Mason in this adversary proceeding.

The Plaintiffs filed this adversary proceeding on September 14, 2012, seeking revocation of Ms.

Gentry’s discharge for violations of 11 U.S.C. § 727(d)(2) and (d)(3). In response, the Defendant

filed a Motion to Dismiss With Sanctions, as well as a Motion for Summary Judgment. In turn, the

Plaintiffs deny that the relief sought by the Defendant should be granted and they filed a Cross-

Motion for Summary Judgment and Cross-Motion for Sanctions. For the reasons stated in this

Opinion, the Court denies all of the instant Motions before it in this case.

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                                               Facts

       The Defendant, Diana Gentry, and Christopher Wyman were married for many years, but

they divorced in May, 2003. The Plaintiffs allege that there were a number of transfers and

transactions between Mr. Wyman and the Defendant, all of which were designed to avoid creditors

of one or the other. Per the Plaintiffs’ allegations, these transfers occurred after the May, 2003,

Judgment of Divorce.

       The Defendant filed a Petition seeking relief under Chapter 7 of the United States

Bankruptcy Code with this Court on December 3, 2009. Collene Corcoran was appointed the

Chapter 7 Trustee of the Defendant’s bankruptcy estate and she has administered a number of assets

as part of her duties in this case. Mr. Wyman filed a Petition seeking relief under Chapter 7 of the

United States Bankruptcy Code on May 24, 2012, and the Plaintiff, Michael Mason, was appointed

the Chapter 7 Trustee in his case. Through his investigation, Mr. Mason has concluded that either

the Defendant owes Mr. Wyman money or that property of Mr. Wyman was improperly transferred

to the Defendant. Mr. Mason retained Michael Tindall to represent him. Mr. Tindall also

represented Barbara Duggan, a creditor of Mr. Wyman.

       In order to determine whether any of Mr. Mason’s or Ms. Duggan’s suspicions were true,

Mr. Tindall filed a series of Motions requesting that the Defendant produce documents and submit

to either a 2004 examination or a deposition in an underlying state court action. The Defendant has

produced documents to Mr. Tindall, but because of her cancer and the treatment for her cancer, she

has been unable to sit for numerous hours to have her sworn testimony taken. As a result of the

Defendant’s actions and inactions, the Plaintiffs filed the instant adversary proceeding.



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                                             Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(J) (objections

to discharge.)

       All issues before the Court arise out of Title 11 of the United States Code and do not involve

issues as raised in the cases of Stern v. Marshall, 131 S. Ct. 2594 (2011) and Waldman v. Stone, 698

F.3d 910 (6th Cir. 2012).

                                       Applicable Authorities

Standard for Motion to Dismiss

       Federal Rule of Civil Procedure 12(b), applicable in this adversary proceeding through

Federal Rule of Bankruptcy Procedure 7012, states:

       Every defense, in law or fact, to a claim for relief in any pleading, whether a claim,
       counterclaim, cross-claim, or third-party claim, shall be asserted in a responsive
       pleading thereto if one is required, except that the following defenses may at the
       option of the pleader be made by motion: . . . (5) insufficiency of service of process,
       (6) failure to state a claim upon which relief can be granted . . . A motion making
       any of these defenses shall be made before pleading if a further pleading is permitted.


A motion brought under Federal Rule of Civil Procedure 12(b)(6) tests the “sufficiency of [a]

complaint.” Conley v. Gibson, 351 U.S. 41, 46 (1957). A court is asked “to examine the plaintiff’s

allegations and determine whether, as a matter of law, the plaintiff is entitled to legal relief even if

everything alleged in the complaint is true.” Mayer v. Mylod, 988 F.2d 635,638 (6th Cir. 1993).

“A court considering a motion to dismiss under Rule 12(b)(6) ‘must accept all well-pleaded factual

allegations of the complaint as true and construe the complaint in the light most favorable to the



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plaintiff.’” Benzon v. Morgan Stanley Distributors, 420 F.3d 598, 605 (6th Cir. 2005)(quoting Inge

v. Rock. Fin. Corp., 281 F.3d 613, 619 (6th Cir. 2002)(citing Turker v. Ohio Dep’t of Rehab. &

Corr., 157 3d 453, 456 (6th Cir. 1998))). If “an allegation is capable of more than one inference,

it must be construed in the plaintiff’s favor.” Columbia Natural Resources, Inc. v. Tatum, 58 F.3d

1120, 1138 (6th Cir. 1995). “While this standard is decidedly liberal, it requires more than a bare

assertion of legal conclusions.” Andrews v. State of Ohio, 104 F.3d 803, 806 (6th Cir. 1997)(quoting

Allard v. Weitzman (In re Delorean Motor Co.), 991 F.2d 1236, 1240 (6th Cir. 1993)(emphasis in

original)).

        In the last few years, in Bell Atlantic Corp., v. Twombly, 550 U.S. 544 (2007), the United

States Supreme Court revisited the standards that govern Federal Rule of Civil Procedure 12(b)(6)

dismissal motions. In doing so, the Supreme Court in Twombly reaffirmed the “notice pleading”

standard of Federal Rule of Civil Procedure 8(a)(2) but renounced “the accepted rule that a

complaint should not be dismissed for failure to state a claim unless it appears beyond doubt that

the plaintiff can prove no set of facts in support of his claim which would entitle him to relief.”

Twombly, 550 U.S. at 560-61 (quoting Conley v. Gibson, 355 U.S. 41, 45-46 (1957)).

        The United States Supreme Court later examined Twombly in the case of Ashcroft v. Iqbal,

556 U.S.662, 129 S. Ct. 1937, 173 L.Ed.2d 868 (2009). In Iqbal, the United States Supreme Court

held that Twombly applies to all civil actions and is not limited to antitrust disputes only as was the

case in Twombly. Iqbal, 556 U.S. at 684, 129 S. Ct. at 1953.

Summary Judgment Standard

        Federal Rule of Civil Procedure 56 is made applicable in its entirety to bankruptcy adversary



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proceedings by Federal Rule of Bankruptcy Procedure 7056. Federal Rule of Bankruptcy Procedure

7056(c) provides that summary judgment is proper "if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law." See Choate v. Landis Tool Co., 46 F. Supp. 774 (E.D. Mich. 1980). The moving party

bears the burden of showing the absence of a genuine issue of material fact as to an essential element

of the non-moving party's case. Street v. J.C. Bradford & Co., 886 F.2d 1472 (6th Cir. 1989) (citing

Celotex Corp. v. Catrett, 477 U.S. 317, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986)). The burden then

shifts to the nonmoving party once the moving party has met its burden, and the nonmoving party

must then establish that a genuine issue of material fact does indeed exist. Janda v. Riley-Meggs

Industries, Inc., 764 F. Supp 1223, 1227 (E.D. Mich. 1991).

Cross-Motions for Summary Judgment

       In cases in which the parties have filed cross-motions for summary judgment, the court must

consider each motion separately on its merits, since each party, as a movant for summary judgment,

bears the burden to establish both the nonexistence of genuine issues of material fact and that party’s

entitlement to judgment as a matter of law. Lansing Dairy v. Espy, 39 F.3d 1339, 1347 (6th Cir.

1994); Markowitz v. Campbell (In re Markowitz), 190 F.3d 455, 463 n.6 (6th Cir. 1999). That both

parties simultaneously argue there are no genuine issues of material fact does not in itself establish

that a trial is not necessary, and that one party has failed to sustain its burden under Federal Rule of

Civil Procedure 56 does not automatically entitle the opposing party to summary judgment. See 10A

Charles Alan Wright, Arthur R. Miller, & Mary Kay Kane, Federal Practice and Procedure: Civil

3d § 2720 (1998).


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Standard Under 11 U.S.C. § 727(d)

       “Revocation of a debtor's discharge is an extraordinary remedy, so § 727(d) is liberally

construed in favor of the debtor and strictly construed against the party seeking revocation.”

Sicherman v. Rivera (In re Rivera), 338 B.R. 318, 324 (Bankr. N.D. Ohio 2006) (internal quotation

marks and citations omitted).      “The finality of the discharge order must be given special

consideration. Such an order, which is the ultimate goal of a debtor, must not be set aside merely

because of ignorance of the law or carelessness of the parties.” Buckstop Lure Co. v. Trost (In re

Trost), 164 B.R. 740, 744 (Bankr. W.D. Mich. 1994) (citation omitted).

       “The elements of a violation of 11 U.S.C. § 727 must be proven by a preponderance of the

evidence to merit denial of discharge.” Keeney v. Smith (In re Keeney), 227 F.3d 679, 683 (6th

Cir.2000). “The party seeking revocation bears the burden of proof . . . .” Sicherman v. Rivera (In

re Rivera), 338 B.R. 318, 324 (Bankr. N.D. Ohio 2006) (internal quotation marks and citations

omitted), aff’d, 356 B.R. 786 (B.A.P. 6th Cir. 2007). “[A] debtor's discharge may only be denied

or revoked for those reasons clearly expressed by statute . . . .” In re Sayre, 321 B.R. 424, 429

(Bankr. N.D. Ohio 2004).

       11 U.S.C. § 727(d)(2) provides:

       On request of the trustee, a creditor, or the United States trustee, and after notice and
       a hearing, the court shall revoke a discharge granted under subsection (a) of this
       section if - . . . (2) the debtor acquired property that is property of the estate, or
       became entitled to acquire property that would be property of the estate, and
       knowingly and fraudulently failed to report the acquisition of or entitlement to such
       property, or to deliver or surrender such property to the trustee[.]

               Under § 727(d)(2), a debtor's bankruptcy discharge will be revoked if the
       debtor acquired property that is property of the estate, or became entitled to acquire
       property that would be property of the estate, and knowingly and fraudulently failed
       to report the acquisition of or entitlement to such property, or to deliver or surrender


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       such property to the trustee [.] A reading of this section thus shows that a party
       moving to revoke a debtor's bankruptcy discharge must establish the existence of two
       elements: (1) the debtor acquired or became entitled to property of the estate; and (2)
       the debtor knowingly and fraudulently failed to report or deliver this property to the
       trustee.

Sicherman v. Rivera (In re Rivera), 338 B.R. 318, 325 (Bankr. N.D. Ohio 2006) (internal quotation

marks and citations omitted).

       11 U.S.C. § 727(d)(3) states that a discharge shall be revoked if:

       (3) the debtor committed an act specified in subsection (a)(6) of this section;

       In turn, 11 U.S.C. § 727(a)(6)(A) states:

       (a) The court shall grant the debtor a discharge, unless (*) –

       ...
               (6) the debtor has refused, in the case –

                     (A) to obey any lawful order of the court, other than an order to
       respond to a material question or to testify;

                      (B) on the ground of privilege against self-incrimination, to respond
       to a material question approved by the court or to testify, after the debtor has been
       granted immunity with respect to the matter concerning which such privilege was
       invoked; or

                      (C) on a ground other than the properly invoked privilege against self-
       incrimination, to respond to a material question approved by the court or to testify;


                                             Analysis

       The Defendant first argues that the service of the Complaint was improper and, therefore,

constitutes insufficiency of service of process for purposes of her Motion to Dismiss. The

Defendant’s Motion does not supply a clear basis for their assertion and the review of the Court file

in this case does not supply any basis to doubt or question that the Plaintiffs properly served the

Defendant. Absent any factual record supporting her contention that service was insufficient, the

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Court denies the Federal Rule of Civil Procedure 12(b)(5) Motion.

        The Plaintiffs next assert that the Defendant lacks standing to bring an action under 11

U.S.C. § 727. In response, the Plaintiffs point to a number of transactions that occurred in 2003 and

thereafter that the Plaintiffs contend support an assertion that Mr. Wyman is owed money by the

Defendant or that the Defendant has property of Mr. Wyman. Given Mr. Wyman’s subsequent

Chapter 7 petition, Mr. Mason, as Trustee for this estate, stands in the shoes of Mr. Wyman to make

such claims.

        11 U.S.C. § 727 allows a creditor to file an action to object to or revoke a discharge. In a

case with similar facts, Judge Rhodes held that a Chapter 7 Trustee had sufficient standing to object

to another debtor’s discharge. In re Barman, 244 B.R. 896 (Bankr. E.D. Mich. 2000). In Barman,

the Chapter 7 trustee for Harold and Evelyn Barman, the parents of Norman Barman, objected to

and sought denial of Mr. Barman’s discharge. In facts similar to those alleged in this case, the

parents’ trustee claimed that there were certain preference and fraudulent conveyance claims against

the debtor. As such, the trustee for the parents was held to be a creditor and, therefore, had sufficient

standing.

        In this case, with these facts, at this time, the Court reaches the same conclusion. The

Defendant’s Motion to Dismiss for lack of standing of Mr. Mason is denied.

        The claims of Ms. Duggan are more problematic because Ms. Duggan is a creditor of Mr.

Wyman, but there is no evidence, at this time, that Ms. Gentry owes Ms. Duggan anything. On the

other hand, both Plaintiffs alleged that Ms. Gentry does have property of Mr. Wyman or owes Mr.

Wyman money, either of which could be used to pay Ms. Duggan. While not as direct as the

relationship in Barman, the Court concludes that with this record at this early procedural stage,


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neither dismissal or summary judgment is appropriate.

       The Defendant next argues that the Plaintiffs fail to allege sufficient facts to support their

Complaint, either under Federal Rule of Civil Procedure 12(b) or 56. After applying the standards

set for this Court in Twombly and Iqbal, supra., the Court concludes that the Plaintiffs have pled with

sufficient detail allegations supporting a possible reason to deny the Debtor a discharge. Likewise,

given that there has been no discovery in this case, the Court is not in a position to conclude that

there is no genuine issue of material fact to warrant summary judgment in favor of the Defendant.

Accordingly, the Defendant’s Motion for Summary Judgment is denied.

       Turning to the Plaintiffs’ Cross-Motion for Summary Judgment, the Plaintiffs make a series

of detailed allegations, supported by portions of sworn testimony, to support their request for

summary judgment. Although quite detailed, the fact that the Defendant has not been allowed the

opportunity to take discovery or file detailed counter-affidavits, compels this Court to deny the

Plaintiffs’ Cross-Motion for Summary Judgment.

       The Court reaches this conclusion in part because the posture of the case demands it and

because the nature of the remedies requested by the Plaintiffs is extreme. The major goal of a

Chapter 7 debtor is to obtain a discharge and the granting, denying, or revoking of the discharge is

not taken lightly. Moreover, the fact that the Debtor was being treated for cancer during part of the

time period involved here compels this Court to not summarily grant the relief requested by the

Plaintiffs. Many of the elements of the Plaintiffs’ case require the Court to delve into the intent and

knowledge of the Debtor. This investigation is often fact intensive, and the granting of summary

judgment is not appropriate until the parties have at least had an opportunity to conduct full and

complete discovery.


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       Finally, all parties seek sanctions under Federal Rule of Bankruptcy Procedure 9011. Taking

into consideration all factors, including the procedural infirmities of each parties’ request, and the

early nature of this case, the Court is hesitant to award sanctions in this case with this record.

       For these reasons, the Court denies both the Plaintiffs’ and the Defendant’s request for

sanctions.



Not for Publication
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Signed on March 15, 2013
                                                         /s/ Daniel S. Opperman
                                                       Daniel S. Opperman
                                                       United States Bankruptcy Judge




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